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14                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
15                                  OAKLAND DIVISION
16
     SAN FRANCISCO AIDS FOUNDATION, et                     Case No. 4:25-cv-1824-JTS
17   al.;
                                                           DECLARATION OF MICHAEL
                                     Plaintiffs,           MUNSON, EXECUTIVE DIRECTOR
18
                                                           OF FORGE, IN SUPPORT OF
19          v.                                             PLAINTIFF’S COMPLAINT AND
                                                           MOTION FOR PRELIMINARY
     DONALD J. TRUMP, in his official capacity as          INJUNCTION
20     President of the United States, et al.
21
                                     Defendants.
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             I, Michael Munson, hereby state as follows:
 1

 2           1. I am the co-founder and Executive Director of FORGE Inc. (“FORGE”), a nonprofit

 3   501(c)(3) organization based in Milwaukee, Wisconsin, which provides training and support to

 4   service providers who serve victims of crime, as well as provides direct support and resources to
 5
     transgender and nonbinary survivors of violence. I have served in this capacity since 1994.
 6
             2. I submit this Declaration in support of Plaintiffs’ Complaint and Motion for a
 7
     Preliminary Injunction, which seeks to prevent Defendant agencies and their leadership from
 8
     enforcing Executive Order No. 14168 “Defending Women From Gender Ideology Extremism and
 9

10   Restoring Biological Truth to the Federal Government” (“Gender Order”), issued January 20, 2025;

11   Executive Order No. 14151 “Ending Radical and Wasteful DEI Programs and Preferencing”
12   (“DEI-1 Order”), issued January 20, 2025; and Executive Order No. 14173 “Ending Illegal
13
     Discrimination and Restoring Merit-Based Opportunity” (“DEI-2 Order”), issued January 21,
14
     2025 (collectively, the “Executive Orders”), and related agency directives that seek to enforce
15
     illegal, ultra vires Presidential action.
16

17           3. FORGE was founded in 1994 and offers programs and services to reduce the impact of

18   trauma on transgender and nonbinary survivors of violence by empowering service providers,

19   advocating for systems reform, and connecting survivors to healing possibilities. Most of this work
20   focuses on training service providers who work with victims of sexual assault, intimate partner
21
     violence, stalking, and hate crimes to increase their knowledge of how to better serve
22
     transgender/nonbinary victims of crime. FORGE also provides direct support, resources, and
23
     healing services to transgender community members.
24

25           4. Acknowledging transgender people’s existence, respecting them, and advancing their

26   civil rights is central to FORGE’s identity, advocacy, and mission, and is a necessary part of every

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28                                                    1
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     aspect of the services we provide. Indeed, every aspect of the services provided by FORGE directly
 1

 2   or indirectly impacts the transgender community.

 3          5. Additionally, FORGE's approach is deeply informed by intersectionality, recognizing

 4   that the experiences of transgender and nonbinary people are further impacted by other
 5
     marginalized identities they may have, such as race, ethnicity, and disability, which necessitates a
 6
     nuanced and comprehensive approach in all our programs and services. Simply put, all of our
 7
     trainings incorporate DEI and DEIA principles because not only are transgender people an
 8
     underserved, marginalized group, but transgender people of color, transgender people living with
 9

10   disabilities, and transgender youth face even greater levels of victimization and marginalization,

11   especially Black transgender women and transgender youth of color.              Recognizing those
12   intersections is necessary to ensure that the service providers we train are able to work effectively
13
     with the wide range of individuals within the transgender community.
14
            6. Although FORGE only has four employees, in 2024 alone, we facilitated over eighty
15
     trainings, events, podcasts, and listening sessions for service providers. These trainings and
16

17   support events were attended by over four thousand individuals, reaching people from 43 states

18   and 3 territories. Throughout the year, we facilitated another eighteen events specifically for

19   transgender and nonbinary survivors and community members. In addition to the trainings, events,
20   and media that FORGE produced last year, we also created transgender-specific documents, such
21
     as academic articles, textbook chapters, technical guidance, and toolkits. Over the longer course
22
     of our work, we have also conducted trainings and prepared written content for government
23
     agencies, like the Department of Justice (DOJ), Federal Bureau of Investigation, and the
24

25   Department of Veterans Affairs.

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            7. FORGE is a federal grantee and subgrantee. Approximately 90% of FORGE’s revenue
 1

 2   arises from federal programs and grants, including but not limited to grants from the DOJ Offices

 3   for Victims of Crime (OVC), Justice Programs (OJP), and Violence Against Women (OVW) and

 4   National Institute of Justice (NIJ), the Substance Abuse and Mental Health Services
 5
     Administration (SAMHSA), and the National Institutes of Health National Institute on Alcohol
 6
     Abuse and Alcoholism (NIH-NIAAA). FORGE's existing federally funded grants support various
 7
     initiatives, including the development of training materials and direct support services for
 8
     transgender and nonbinary survivors. These Federal offices and governmental departments have
 9

10   made explicit in the requests for proposals that organizations should, and in some cases must, focus

11   on target populations, including transgender people and people of color.
12          8. For example, FORGE was the original author of the 2014 OVC Guide, Responding to
13
     Transgender Victims of Sexual Assault, an extensive online toolkit for service providers hosted on
14
     the OVC website, funded by OVC. In 2022, FORGE applied for and received a grant from OVC
15
     to create an updated version of this vital resource. The new toolkit expands beyond the singular
16

17   crime of sexual assault to address a wide range of crimes against transgender people and will focus

18   content for several dozen types of service providers. The grant solicitation explicitly outlined that

19   the toolkit must address the barriers and disparities experienced by transgender women and girls
20   of color and address the diverse identities and experiences within the transgender community that
21
     are uniquely negatively impacted, underserved, and inadequately cared for by service providers.
22
     This is an important aspect of the toolkit because each group and subpopulation within the
23
     transgender community experiences different types and severity of violence and different barriers
24

25   to receiving services. Although the original toolkit was on the OVC website for over a decade,

26   after the Executive Orders issued, OVC removed it from their site. Because of the Executive

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     Orders, I am uncertain about whether the updated version OVC has funded us to produce will ever
 1

 2   be made public or whether we will be able to drawdown the funds to cover the expenses we have

 3   incurred in the last month for its production. Although I have not heard directly from OVC, I did

 4   hear from the National Violence Against Women Law Enforcement Training and Technical
 5
     Assistance Consortium, who was supposed to provide a section of the toolkit for law enforcement
 6
     professionals, that their funder, OVW, asked them to pause their support for the toolkit because of
 7
     the Executive Orders.
 8
               9.    Likewise, FORGE partners with numerous national mainstream organizations that also
 9

10   provide training and technical assistance to victim service providers under their grant-funded work.

11   Partnerships, working groups, advisory teams, and other forms of collaboration are central to
12   carrying out our training and technical assistance work. FORGE’s specific role in these
13
     partnerships is to bring a focus on the needs and realities of transgender survivors of violence to
14
     their broader efforts.
15
               10. Currently, FORGE is working on an OVW grant-funded project with the International
16

17   Association of Forensic Nurses (IAFN) on the National Tribal Clearinghouse on Sexual Assault.

18   FORGE’s work on this project focuses on survivor services and outreach initiatives for Two-Spirit

19   people. Two-Spirit people are Native people whose gender and sexuality do not fit into the Western
20   colonial paradigms of the gender binary articulated in the Executive Orders. Since the Executive
21
     Orders issued, we participated in a working group with IAFN and other partners related to the joint
22
     resources we are creating under this grant. Members of the working group shared that their
23
     program managers from OVW and OVC had instructed that our grant funded work could not
24

25   include        terms   like   “equal   opportunity,”   “pronoun,”   “colonialism,”   “Westernization”

26   “intersectionality,” “genocide,” “accessibility,” and “historical trauma.” Restricting the use of

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     these words not only results in inadequate contextual understanding but also fails to address the
 1

 2   systemic issues at the core of historic harms faced by Native people, including Two-Spirit people.

 3   These restrictions on FORGE’s discussions of gender and DEI completely undermine our ability

 4   to carry out grant-funded work. More critically, IAFN reported to FORGE during a meeting that
 5
     the program manager for this grant at OVW told them that the work with Two-Spirit people under
 6
     the grant had to stop because of the Executive Orders, which they confirmed by email to me on
 7
     February 4, 2025. A true and accurate copy of that email is attached hereto as Exhibit 1.
 8
            11. FORGE has heard from other primary grantees about similar restrictions on work we
 9

10   carry out as a subgrantee or contractor, including on OVW-funded webinar content focusing on

11   transgender youth survivors of dating violence; webinar content on culturally responsive support
12   for LGBTQ youth of color; podcast content focusing on sexual assault and the dynamics of
13
     LGBTQ people on faith-based college campuses; and continued participant engagement on NIH-
14
     NIAAA funded research related to transgender people, intimate partner violence and the role of
15
     alcohol. We are uncertain about how exactly this work is going to be constrained and what will be
16

17   allowed. None of the restrictions we are hearing about have been put in writing by the funding

18   agencies, making it challenging to keep track of the changing environment. I have spent so much

19   time talking with my staff, with our partners, and with leaders of other organizations working in
20   the sexual assault and domestic violence spaces trying to make sense of what these Executive
21
     Orders allow and prohibit. We are trying to strategize around how to fund the work with both
22
     providers and survivors if our federal funding is cut off. The heavy focus in the last few weeks has
23
     been specifically on transgender youth survivors and ensuring they continue to have access to post-
24

25   assault emergency care. We are all committed to this vital work and to navigating these Executive

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     Orders’ attempts to erase the identities of both our organizations and the people we are trying to
 1

 2   help.

 3            12. FORGE’s collaborations with other organizations have also been disrupted because of

 4   partners’ grant funding. FORGE has been part of a workgroup for a project funded by the National
 5
     Institute of Corrections on improving care of transgender people in correctional settings. On
 6
     February 11, 2025, we were informed by the grantee that work on this project has been paused
 7
     because of the Executive Orders. Though we were not paid for participating in this workgroup,
 8
     FORGE is nonetheless impacted by its termination because we lose access to partners that may be
 9

10   best positioned to make major policy changes. Removing FORGE from the conversation results

11   in policy changes that insufficiently consider the needs and realities of transgender survivors of
12   violence and ultimately makes our work harder in the long run because we must fill the gaps in the
13
     policies that are enacted.
14
              13. Without grants from these federal programs, FORGE would not be able to develop and
15
     provide trainings geared towards providers serving transgender and nonbinary survivors of
16

17   violence. The lack of such training material would leave transgender survivors without access to

18   professionals with the knowledge, skills, and cultural competency to provide the support and

19   services that all survivors of violence need and deserve. Without recognizing the unique
20   experiences of transgender people across different lines of race, age, and ability, transgender
21
     survivors experience additional harm from service organizations and increased systemic
22
     victimization. All of FORGE’s grant-funded work focuses on transgender survivors and the
23
     professionals who provide services to transgender survivors. All grant activities outlined in
24

25   approved and funded proposals are centered on transgender and nonbinary people who are victims

26   of crime. The barriers to transgender survivors reporting this violence and seeking support are

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28                                                   6
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     tremendous. These barriers increase when professionals are not trained and do not have the skills
 1

 2   to meet survivors’ needs in ways that are affirming and respectful of every aspect of their identities.

 3          14. Without addressing topics such as implicit bias and grappling with how racism, sexism,

 4   and ablism intersect with transphobia, FORGE cannot successfully fulfill the obligations of our
 5
     federal funding. Failing to train the professionals working with transgender survivors of violence
 6
     on the impacts of systemic inequalities and barriers related to race, age, disability, lack of language
 7
     access, and economic status would mean that those professionals will not be able to effectively
 8
     serve those survivors.
 9

10          15. Some of the recent content created by FORGE is listed below:

11                      a. In partnership with End Violence Against Women International (EVAWI),
12                            FORGE created a new training module in EVAWI’s OVW-funded “Sexual
13
                              Assault Medical Forensic Exam: A Virtual Practicum.” This module
14
                              includes an immersive training case example focused on a black trans man
15
                              who experienced sexual assault and his interactions with a sexual assault
16

17                            nurse examiner and victim advocate. The module’s components included a

18                            video of the case/scenario, a director’s cut, voice-over additional training

19                            notation, resources, and links to additional trans-specific learning
20                            opportunities for sexual assault nurse examiners.
21
                        b. In January 2024, FORGE developed and presented a training requested by
22
                              OVC, for the DOJ PREA (Prison Rape Elimination Act) Workgroup, titled
23
                              “Working with Trans and Nonbinary People in Detention.”
24

25                      c. In September 2024, FORGE was asked by DOJ/OJP to present at the 2024

26                            Hate Crimes Grantee Conference in Birmingham, Alabama, hosted by the

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                           DOJ. FORGE presented on a keynote panel (titled “Building Community
 1

 2                         Resilience Against Hate”) and a workshop (titled “Developing Actionable

 3                         Community Response Plans”). The content included in these sessions was

 4                         on hate violence committed against transgender people, addressing the
 5
                           implications of race, national origin, and religion, and how communities
 6
                           respond to that violence.
 7
                    All of this content was prepared using federal grants.
 8
            16. FORGE has already suspended several proposals for federal grants that were in
 9

10   progress because of the Executive Orders. These include the OVW FY25 Research and Evaluation

11   Initiative and the NIJ FY25 Research and Evaluation on Hate Crimes, both of which FORGE
12   outlined responses to and drafted content ready for submission. Additionally, FORGE was
13
     exploring proposals for the OVW FY25 Training and Services to End Abuse in Later Life and the
14
     NIJ FY25 Research on the Abuse, Neglect, and Financial Exploitation of Older Adults. Two days
15
     before the DEI Executive Order was signed, FORGE submitted a proposal to the Culturally
16

17   Responsive Victim Services Grant Program, which is funded by the OVC FY 2021 National Center

18   for Culturally Responsive Victim Services.

19          17. As an organization, we do not want to waste any more time applying for grants that we
20   will never be awarded in light of the Gender and DEI Executive Orders. We are extremely
21
     pessimistic that we will be awarded the one OVC grant we did apply for, the award date for which
22
     is March 10, 2025. At the same time, these are the types of grants we have previously been awarded
23
     and depend on as an organization. Even though we did not know if we would receive these
24

25   particular grants, the suspension of these proposals signifies the insecurity of our funding for

26   critical initiatives aimed at supporting transgender and nonbinary victims of crime and violence.

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28                                                     8
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     But more than that, it is extremely concerning that whoever does receive the grants we are now
 1

 2   excluded from because of the Executive Orders will also be unable to mention transgender and

 3   nonbinary people or racial disparities.

 4          18. It is beyond dispute that transgender and nonbinary people historically and currently
 5
     experience disproportionately high rates of victimization and have faced significant barriers to
 6
     accessing services for survivors of violence. FORGE’s work squarely relates to decreasing those
 7
     barriers by increasing service providers’ culturally specific knowledge, skills, and trust, thereby
 8
     reducing revictimizing and retraumatizing. The transgender and nonbinary people we serve are
 9

10   acutely aware of the Executive Orders and the possible implications on their safety and ability to

11   receive services. Here are two concrete examples: First, FORGE recently announced a three-part
12   series on emotional regulation for trans survivors and noticed that participants only registered with
13
     their first names. For nearly thirty years, registration for events has never resulted in such massive
14
     non-disclosure of attendees’ full names. Since the Executive Orders were issued, FORGE has
15
     received requests from 988/hotlines for training specific to transgender people in crisis following
16

17   the release of the Executive Order; contacts by family members concerned about their trans loved

18   ones safety and request for guidance on how to support them; transgender people reached out in a

19   panicked state asking for support on how they can update their identity documents and asking what
20   harm could be done if they apply for name or gender changes; and media outlets requested
21
     interviews or statements specifically about the Executive Order.
22
            19. We are uncertain about how to conduct our work since every aspect of our
23
     programming and services revolve around transgender and nonbinary survivors and the providers
24

25   who serve them. We cannot remove references to transgender and nonbinary people from our work,

26   because our work focuses on transgender victims of crime. We are deeply concerned that the

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28                                                     9
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     trainings and services we provide—all focused on transgender content—will be used as a
 1

 2   justification for suspending or terminating FORGE’s federal funding from grants and contracts. It

 3   is an impossible position with no way forward. If trainers are required to censor discussions about

 4   implicit bias, the importance of diversity, equity, and inclusion, and issues affecting the
 5
     transgender community, which are often central to the purpose of a particular training, then they
 6
     are adding to the trauma of survivors, not mitigating it. Such censorship can defeat the purpose of
 7
     the training and leave the service providers without the tools necessary to ensure nondiscriminatory
 8
     services to vulnerable communities. And as a practical matter, the Executive Orders restrict
 9

10   FORGE’s ability to advertise such trainings and limit the organizations that can participate because

11   of risks to their own grant funding, which naturally results in fewer individuals attending the
12   trainings and undermines FORGE’s ability to meet its obligations under federal grant funding.
13
            20. The Executive Orders interfere with FORGE’s ability to train service providers on
14
     basic cultural competency and service provision to transgender and nonbinary survivors of
15
     violence. The Executive Orders also directly interfere with our ability to provide support directly
16

17   to transgender and nonbinary survivors. FORGE plainly cannot accomplish our mission—and our

18   mandates under existing grants—should the Executive Orders be allowed to stand. The Executive

19   Orders threaten FORGE’s grant funding, the loss of which would result in FORGE having to end
20   its current operations.
21

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